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UNITED STATES DISTRICT COURT
IN AND FOR THE DISTRICT OF WYOMING

C. MARK CUPPS, MARK B. and CHERYL
L. KOENIG, DALE M. and PEGGY
CARLSON, JOHN E. MCINROY and ANN
W. PECK, PHILLIP and ANDREA L.
KOSKI, ESTHER SANDOVAL, KAY
YUEN HING REVOCABLE TRUST, dated
January 8, 2010, ANTHONY R. HOCH,
FLOYD A. and BARBARA J. BARBOUR,
WILLIAM G. CUTLER, and BRUCE R.
and DEBRA J. SMITH,

Plaintiffs,
v.

PIONEER CANAL-LAKE HATTIE
IRRIGATION DISTRICT,

Defendant.

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Case No. (lo. CV -Xe

 

COMPLAINT TO QUIET TITLE AND ACTION FOR INVERSE

CONDEMNATION

 

COME NOW, the Plaintiffs, by and through their undersigned attorneys,

Brandon L. Jensen and Brian J. Tweedie of the Budd-Falen Law Offices, LLC,

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and hereby state their complaint against the Defendant Pioneer Canal-Lake
Hattie Irrigation District as follows:
NATURE OF ACTION

1. Each of the Plaintiffs hereto own private property located
immediately adjacent to the Lake Hattie Reservoir in Section 28, Township 15
North, Range 76 West of the Sixth Principal Meridian, Albany County, State of
Wyoming.

2. The Defendant Pioneer Canal-Lake Hattie Irrigation District owns
the Lake Hattie Reservoir and all rights-of-way and water rights appurtenant
thereto.

3. Pursuant to the Act of March 3, 1891, §§ 18-22, 26 Stat. 1095,
1101-02 (1891) (formerly codified at 43 U.S.C. §§ 946-949), the Pioneer Canal-
Lake Hattie Irrigation District holds a federal right-of-way grant for the Lake
Hattie Reservoir in Section 28.

4. The Defendant’s federal right-of-way grant does not overlap any of
the Plaintiffs’ tracts of land.

5. Each of the Plaintiffs’ respective lots were sold and patented by the
federal government specifically for home or cabin sites.

6. None of the Plaintiffs’ respective patents make specific reference to
the Lake Hattie Reservoir.

7. In 2015, the Defendant began storing additional water in the
reservoir on lands belonging to each of the Plaintiffs herein and outside the

limits of its federal right-of-way grant.

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8. The flooding of private property in 2015 resulted in significant
damage to the Plaintiffs’ respective properties, including, but not limited to,
preclusion of use and enjoyment; damage to structures, foundations,
improvements, and fences; physical damage to the land itself; and actual loss
of land from erosion.

9, Nevertheless, despite the significant damage that occurred in 2015,
the Plaintiffs have been notified by the Defendant of its intention to store
additional water in the reservoir in an effort to avoid abandonment of its water
rights and to fill the reservoir to its capacity.

10. The damage to the Plaintiffs’ respective properties from the storage
of additional water in the reservoir will be catastrophic to each of the Plaintiffs.

11. Consequently, the Plaintiffs initiate this action to quiet title to their
respective lots and to seek damages resulting from the unauthorized storage of
water on their private property.

JURISDICTION AND VENUE

12. An actual, justiciable controversy now exists between the parties
hereto, regarding the subject matter hereof, as to all matters for which the
Plaintiffs seek declaratory and injunctive relief; therefore, this Court may
declare the rights and other legal relations of the parties in this action under
28 U.S.C. §§ 2201 and 2202.

13. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §

1331, because this action arises under the laws of the United States, including

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the Act of March 3, 1891, §§ 18-22, 26 Stat. 1095, 1101-02 (1891) (formerly
codified at 43 U.S.C. §§ 946-949),

14, Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b),
because the Defendant is an entity which maintains its principal place of
business within the State of Wyoming, and a substantial part of the events or
omissions giving rise to the claim occurred in, or a substantial part of the
property that is the subject of this action is situated in, the State of Wyoming.

PARTIES

15. The Plaintiff C. Mark Cupps owns and has the exclusive right to
possess the following real property lying adjacent to the Lake Hattie Reservoir
in Albany County: Lot 36, 315 Lake Hattie Road, Township 15 North, Range
76 West of the Sixth Principal Meridian, Albany County, State of Wyoming.

16. The Plaintiffs Mark B. and Cheryl L. Koenig own and have the
exclusive right to possess the following real property lying adjacent to the Lake
Hattie Reservoir in Albany County: Lot 19, 261 Lake Hattie Road, Township 15
North, Range 76 West of the Sixth Principal Meridian, Albany County, State of
Wyoming.

17. The Plaintiffs Dale M. and Peggy Carlson own and have the
exclusive right to possess the following real property lying adjacent to the Lake
Hattie Reservoir in Albany County: Lot 19, 261 Lake Hattie Road, Township 15
North, Range 76 West of the Sixth Principal Meridian, Albany County, State of

Wyoming.

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18. The Plaintiffs John E. McInroy and Ann W. Peck own and have the
exclusive right to possess the following real property lying adjacent to the Lake
Hattie Reservoir in Albany County: Lot 7, 219 Lake Hattie Road, Township 15
North, Range 76 West of the Sixth Principal Meridian, Albany County, State of
Wyoming.

19. The Plaintiffs Phillip and Andrea L. Koski own and have the
exclusive right to possess the following real property lying adjacent to the Lake
Hattie Reservoir in Albany County: Lot 13, 239 Lake Hattie Road, Township 15
North, Range 76 West of the Sixth Principal Meridian, Albany County, State of
Wyoming.

20. The Plaintiff Esther Sandoval owns and has the exclusive right to
possess the following real property lying adjacent to the Lake Hattie Reservoir
in Albany County: Lot 14, 245 Lake Hattie Road, Township 15 North, Range
76 West of the Sixth Principal Meridian, Albany County, State of Wyoming.

21. The Plaintiff Kay Yuen Hing Revocable Trust, dated January 8,
2010, owns and has the exclusive right to possess the following real property
lying adjacent to the Lake Hattie Reservoir in Albany County: Lot 18, 257 Lake
Hattie Road, Township 15 North, Range 76 West of the Sixth Principal
Meridian, Albany County, State of Wyoming.

22. The Plaintiff Anthony R. Hoch owns and has the exclusive right to
possess the following real property lying adjacent to the Lake Hattie Reservoir
in Albany County: Lot 38, 323 Lake Hattie Road, Township 15 North, Range

76 West of the Sixth Principal Meridian, Albany County, State of Wyoming.

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23. The Plaintiffs Floyd A. and Barbara J. Barbour own and have the
exclusive right to possess the following real property lying adjacent to the Lake
Hattie Reservoir in Albany County: Lot 39, 327 Lake Hattie Road, Township 15
North, Range 76 West of the Sixth Principal Meridian, Albany County, State of
Wyoming.

24, The Plaintiff William G. Cutler owns and has the exclusive right to
possess the following real property lying adjacent to the Lake Hattie Reservoir
in Albany County: Lot 40, 331 Lake Hattie Road, Township 15 North, Range
76 West of the Sixth Principal Meridian, Albany County, State of Wyoming.

25. The Plaintiffs Bruce R. and Debra J. Smith own and have the
exclusive right to possess the following real property lying adjacent to the Lake
Hattie Reservoir in Albany County: Lot 40, 331 Lake Hattie Road, Township 15
North, Range 76 West of the Sixth Principal Meridian, Albany County, State of
Wyoming.

26. The Defendant Pioneer Canal-Lake Hattie Irrigation District is
organized and existing under the laws of the State of Wyoming.

STATEMENT OF FACTS COMMON TO ALL CLAIMS

27. The Pioneer Canal-Lake Hattie Irrigation District holds a federal
right-of-way grant for the Lake Hattie Reservoir in Albany County, and at all
times relevant hereto, has operated and stored water in said reservoir,
pursuant to the aforementioned right-of-way grant.

28. The right-of-way grant for the Lake Hattie Reservoir was originally

granted by the Department of the Interior on February 14, 1911, under the Act

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of March 3, 1891, §§ 18-22, 26 Stat. 1095, 1101-02 (1891) (formerly codified at
43 U.S.C. §§ 946-949).

29. The map accompanying the right-of-way application, dated
September 18, 1909, traces the location of the Lake Hattie Reservoir and
contains a certification that the map was made under the authority of the
applicant, filed under the Act of March 3, 1891, and accurately represented the
boundaries of the reservoir.

30. The 1909 map filed by the Defendant’s predecessor-in-interest,
under the authority of the Act of March 3, 1891, establishes the outer limits of
the Defendant’s right-of-way for purposes of storing water in the Lake Hattie
Reservoir.

31. Each of the Plaintiffs hold title to a parcel of real property lying
immediately adjacent to the Lake Hattie Reservoir, which title originates from
the grant of a patent from the federal government, based upon a metes and
bounds resurvey of the reservoir, dated April 13, 1950, and approved June 13,
1950.

32. Pursuant to Classification Order No, 10, dated August 27, 1951,
the Bureau of Land Management subdivided Section 28, Township 15 North,
Range 76 West into fifty separate tracts which were declared chiefly valuable
for home or cabin sites.

33. According to the field notes accompanying the survey of the fifty

tracts in Section 28, each of the tracts were intentionally and purposefully

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surveyed above the high water line of the Lake Hattie Reservoir and outside the
boundaries of the Defendant’s right-of-way.

34. Each of the Plaintiffs’ respective lots were sold and patented by the
federal government under the Small Tract Act of June 1, 1938 (“An Act to
provide for the purchase of public lands for home and other sites”), 52 Stat.
609, specifically for home or cabin sites.

35. None of the Plaintiffs’ respective patents make specific reference to
the Lake Hattie Reservoir.

36. The boundary of the Lake Hattie Reservoir and the Defendant’s
right-of-way, as established by the 1909 map and the 1950 resurvey, does not
overlap any of the Plaintiffs’ tracts of land.

37. In 2015, the Defendant began storing additional water in the
reservoir on lands belonging to each of the Plaintiffs herein and outside the
limits of its federal right-of-way grant.

38. The flooding of private property in 2015 resulted in significant
damage to the Plaintiffs’ respective properties, including, but not limited to,
preclusion of use and enjoyment; damage to structures, foundations,
improvements, and fences; physical damage to the land itself; and actual loss
of land from erosion.

39. Nevertheless, despite the significant damage that occurred in 2015,
the Plaintiffs have been notified by the Defendant of its intention to store
additional water in the reservoir in an effort to avoid abandonment of its water

rights and to fill the reservoir to its capacity.

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40. The damage to the Plaintiffs’ respective properties from the storage
of additional water in the reservoir will be catastrophic to each of the Plaintiffs.

41. In addition to the forced removal of many of the Plaintiffs from
their respective residences and properties, the Plaintiffs fear that several homes
will be destroyed or rendered uninhabitable, additional lands will be lost to
erosion, and access to the entire neighborhood may be compromised from sub-
irrigation of a nearby natural lake.

FIRST CAUSE OF ACTION
QUIET TITLE

42. The Plaintiffs assert and allege all preceding paragraphs as if fully
set forth herein.

43. The Plaintiffs bring this civil action to quiet title, pursuant to Wyo.
Stat. §§ 1-32-201, 202, for the purpose of determining an adverse interest
claimed by the Defendant in real property owned by each of the Plaintiffs.

44. The Plaintiffs own a legal estate in and are entitled to possession of
each of their respective lots.

45. The Defendant claims an adverse interest to the real property at
issue and continues to unlawfully possess and use said real property.

46. The nature of the right, title, or interest, which the Defendants
claim in the real property herein is based upon the legal operation and effect of
a federal right-of-way grant issued to the Defendant’s predecessor-in-interest
under the Act of March 3, 1891.

47. Judicial relief to quiet title to private lands in Section 28 is

necessary and appropriate in order to ascertain and establish the boundaries
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of the Defendant’s federal right-of-way grant and permanently eject the
Defendant from each of the Plaintiffs’ respective parcels of private property.

48. Injunctive relief may be necessary and appropriate in order to
permanently enjoin the Defendant from possessing and occupying the
Plaintiffs’ private properties and interfering with the Plaintiffs’ lawful use,
possession and enjoyment of their real property.

SECOND CAUSE OF ACTION
ACTION FOR INVERSE CONDEMNATION

49. The Plaintiffs assert and allege all preceding paragraphs as if fully
set forth herein.

50. Pursuant to Wyo. Stat. § 1-26-516:

When a person possessing the power of condemnation takes

possession of or damages land in which he has no interest, or

substantially diminishes the use or value of land, due to activities

on adjoining land without the authorization of the owner of the

land or before filing an action of condemnation, the owner of the

land may file an action in district court seeking damages for the

taking or damage and shall be granted litigation expenses if

damages are awarded to the owner.

51. The Defendant, as an irrigation district, has the power of
condemnation. See Wyo. Stat. § 1-26-815(a) (power of eminent domain granted
for the location, construction, maintenance and use of reservoirs for
agricultural purposes); and Wyo. Stat. § 41-7-210(a)(iv)(E) (irrigation district

may exercise the power of eminent domain); see also Krenning v. Heart

Mountain Irrigation Dist., 2009 WY 11, 9 15, 200 P.3d 774, 780 (Wyo. 2009).

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92. The storage of water on each of the Plaintiffs’ respective parcels of
land by the Defendant constitutes an invasion of the Plaintiffs’ interests in the
exclusive possession of their land and in its physical condition.

53. The storage of water on each of the Plaintiffs’ properties was an
intentional act by the Defendant.

54. The Defendant has taken possession of, or damaged, or
substantially diminished the use or value of, land in which it has no interest,
due to activities on adjoining land without the authorization of the Plaintiffs.

99. The Defendant has not filed an action of condemnation against any
of the Plaintiffs.

96. The Plaintiffs have suffered irreparable injury to their right to
exclude the Defendant from Plaintiffs’ private properties.

97. The Plaintiffs are informed and believe, and on the basis of that
information and belief allege, that, unless restrained by this Court, the
Defendant will continue to take possession of, or damage, lands belonging to
the Plaintiffs.

58. The flooding of private property by the Defendant has resulted in
significant damage to the Plaintiffs’ respective properties, including, but not
limited to, preclusion of use and enjoyment; damage to structures,
foundations, improvements, and fences; physical damage to the land itself; and
actual loss of land from erosion.

59. Consequently, the Plaintiffs seek from the Defendant both the fair

market value for the taking of their respective properties and actual damages

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suffered by each of the Plaintiffs, including any diminishment of the use or
value of the Plaintiffs’ remaining lands, in an amount to be determined at trial.

60. Furthermore, pursuant to Wyo. Stat. § 1-26-714, the Defendant is
responsible for reclamation and restoration of the land and any improvements
thereon.

61. The reclamation and restoration shall return the property and
improvements to the condition existing prior to the condemnation to the extent
that reasonably can be accomplished.

62. Finally, if damages are awarded to the Plaintiffs under Wyo. Stat. §
1-26-516, the Plaintiffs are entitled to an award of litigation expenses.

63. Under Wyo. Stat. § 1-26-502, “litigation expenses” means and
includes attorney’s fees, appraisal expenses and engineering fees and expenses.

THIRD CAUSE OF ACTION
DEFENDANT’S FAILURE TO MAINTAIN RESERVOIR

64. The Plaintiffs assert and allege all preceding paragraphs as if fully
set forth herein.

65. The Defendant is lawfully obligated to carefully maintain the
embankments of the reservoir so that the water will not flood or damage the
premises of others. See Wyo. Stat. § 41-3-317; see also Wyo. Stat. § 41-5-101.

66. The Defendant has performed no maintenance of the
embankments of the Lake Hattie Reservoir, which has resulted in damage to
several of the Plaintiffs’ respective lots, including loss of land itself through

erosion.

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67. Failure of the Defendant to maintain the embankments of the
reservoir will result in flooding of private property, overflow of water, and
damage to the premises of others.

68. Consequently, the Plaintiffs initiate this action to seek damages in
an amount to be determined at trial resulting from the failure of the Defendant
to maintain the embankments of the reservoir and prevent flooding or overflow
of water onto private property.

69. Regardless of the actual boundaries of the Defendants’ federal
right-of-way grant, the Plaintiffs seek also judicial clarification of the
Defendant’s legal duties, obligations and liabilities incident to their ownership
and operation of the Lake Hattie Reservoir.

REQUEST FOR RELIEF

WHEREFORE, on the foregoing basis, the Plaintiffs respectfully request
that the Court enter judgment against the Defendant and grant the following
relief:

70. A Court order quieting title to each of the Plaintiffs’ respective
properties and against the Defendant;

71. A Court order permanently ejecting the Defendant from each of the
Plaintiffs’ respective properties;

72. A Court order declaring that the Defendant has unlawfully taken
land and adjudicating damages to each of the Plaintiffs in an amount to be

determined at trial;

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73. A preliminary and/or permanent injunction prohibiting the
Defendant from storing any water on any of the Plaintiffs’ respective properties;

74. A Court order declaring the legal duties, obligations and liabilities
incident to the Defendants’ ownership and operation of the Lake Hattie
Reservoir;

75. An award of costs and attorneys’ fees; and

76. A Court order granting such further and other relief as the Court

deems just and proper.

  
  

RESPECTFULLY SUBMITTED this

 

  
 

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